           CONTINUATION IN SUPPORT OF CRIMINAL COMPLAINT

      I, Ryan Roskey, a Special Agent with the Federal Bureau of Investigation

(FBI), being duly sworn, hereby depose and state as follows:

                                    Introduction

      1.     I have been employed as a Special Agent of the FBI since 2019 and

am currently assigned to the Detroit Division. My duties include the investigation

of alleged violations of federal criminal laws, including 18 U.S.C. § 875(c) –

Interstate Communications (i.e., transmitting in interstate or foreign commerce any

communication containing any threat to injure the person of another). Prior to

becoming an FBI Special Agent, I was employed as a police officer and detective

for approximately 10 years. As a police detective, I was responsible for numerous

types of complex criminal investigations involving child abuse, sexual assault,

internet crimes against children, child sexual abuse material (CSAM), drug

endangered children, human trafficking, narcotics trafficking, firearms violations,

gang investigations, fugitives, and violent crime. In this role, I have been assigned

to the United States Marshals Violent Fugitive Task Force and the FBI Omaha

Safe Streets Task Force. I have completed hundreds of hours of specialized

investigative training from the FBI, Drug Enforcement Agency (DEA) and United

States Department of Justice.

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      2.     This continuation is submitted in support of a criminal complaint

charging SEANN PATRICK PIETILA with a violation of 18 U.S.C. § 875(c).

Based on my training and experience and the facts set forth in this affidavit, there

is probable cause to believe that, in the Western District of Michigan, SEANN

PATRICK PIETILA committed violations of Section 875(c).

      3.     The statements contained in this continuation are based in part on

information provided by U.S. federal law enforcement agents, written reports about

this and other investigations that I have received, directly or indirectly, from other

law enforcement agents, including local law enforcement agencies, information

gathered from investigative sources of information, and my experience, training

and background as a Special Agent.

      4.     This continuation is submitted for the limited purpose of providing

probable cause in support of the criminal complaint. I have not included each and

every fact known to me concerning this investigation. I have set forth only the facts

that I believe are necessary to establish probable cause to believe that SEANN

PIETILA has violated 18 U.S.C. § 875(c).

      5.     Title 18, United States Code, Section 875(c) prohibits the

transmission in interstate or foreign commerce any communication containing any

threat to kidnap any person or any threat to injure the person of another. I have
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been advised by the U.S. Attorney’s Office for the Western District of Michigan

that, to prove a violation of Section 875(c), the government must prove that: (1) the

defendant sent a message in interstate commerce; (2) that a reasonable observer

would view the message as a threat; and (3) that the defendant intended the

message as a threat. United States v. Doggart, 906 F.3d 506, 510 (6th Cir. 2018)

(citing Elonis v. United States, 135 S. Ct. 2001, 2011 (2015)). “True threats” are

not protected by the United States Constitution. Elonis, 135 S. Ct. at 2016; see

also R.A.V. v. St. Paul, 505 U.S. 377, 388 (1992) (citing Watts v. United States,

394 U.S. 705 (1969)) (“[T]hreats of violence are outside the First Amendment.”).

True threats are “statements where a speaker means to communicate a serious

expression of an intent to commit an act of unlawful violence to a particular

individual or group of individuals.” Virginia v. Black, 538 U.S. 343, 359 (2003).

The threat need only be communicated in interstate commerce; it need not be

communicated directly to the individual or group of individuals that are the subject

of the threat. See Doggart, 906 F.3d at 512 (observing that Elonis “said nothing

about an intimidation requirement”); United States v. Morales, 272 F.3d 284, 288

(5th Cir. 2001) (finding that statements made to a third party in an internet chat

room were, nevertheless, true threats under 18 U.S.C. § 875(c)); United States v.

Myers, 104 F.3d 76, 77-78 (5th Cir. 1997) (finding that threats made by defendant
                                          3
against the Veterans Administration and Congress during a telephone call to an

employee of the Paralyzed Veterans of America were true threats). In other threat

contexts, courts have found that the threats need not be communicated directly to

the subject of the threat. See, e.g., United States v. Hanna, 293 F.3d 1080, 1088

(9th Cir. 2002) (a jury could conclude that statements were true threats against the

President though they were never delivered to him, any of his aides or any federal

agencies); United States v. Turner, 720 F.3d 411, 424 (2d Cir. 2013) (finding that

statements encouraging third parties to commit violence against federal judges

constitute true threats).

      6.      The United States Attorney’s office also advised me that the United

States Supreme Court is currently considering whether the First Amendment

precludes criminal conviction of a defendant who makes a communication that a

reasonable person would understand as a threat of injury or death unless the

prosecution has proof beyond a reasonable doubt of the defendant’s subjective

intent or knowledge that it would be taken as such a threat. See Counterman v.

Colorado, No. 22-138, 143 S. Ct. 644 (Jan. 13, 2023). Oral argument was held in

April 2023, but the Supreme Court has not decided that issue.




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                                  Probable Cause

      7.     On or about June 13, 2023, the FBI received a report of threatening

communications exchanged via online social media messaging. The report

identified Instagram username finnishv64 as making threats to commit a mass

causality incident. Instagram (Meta Platforms, Inc.), which is headquartered in

California, provided a 210-page document of user information related to

finnishv64. Open-source information provided by Meta Platforms, Inc. indicates

that it maintains datacenters to supply its products like Instagram in multiple states

outside of Michigan and outside of the United States, including Ireland, Denmark,

Sweden, and Singapore. The document contained messaging records and other

subscriber information.

      8.      User finnishv64 sent the below messages to other Instagram users:

      Conversation #1

      Author finnishv64 (Instagram: 58840564741)
      Sent 2023-06-01 05:00:35 UTC
      Body Starting to think plan B is the only option I got left.� Because fuck
      this generation for dating to marry.


      Author _this_aint_me_88 (Instagram: 32075774145)
      Sent 2023-06-01 05:02:46 UTC
      Body Bro that's fucking sucks man that's so fucking rude and annoying
      to hear bc people shouldn't be doing that it's not fair for people like
      you man I'm sorry

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Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 05:02:49 UTC
Body Liked a message


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 05:04:24 UTC
Body Real though so do I only wish there was easier ways to get guns
here bc I really need some at this point man I done with everything
as well


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-01 05:08:37 UTC
Body Thanks man, means a lot truly!� but It’s all good. Honestly was
expecting it. She’s been ignoring me constantly and just been
being a dry texter. But yeah I’m just done at this point. Fuck this
world and everything in it. I’m gonna start making plans soon, just
gotta buy a few more things.


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 05:09:24 UTC
Body Liked a message


Author
_this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 05:15:08 UTC
Body Dam man that's really sucks bro that girl I showed you a few weeks
ago is such a pain as well she snaps me like 4 times a day barely
talks to me I'm just sick of her and everyone else bro, it's gonna be
a shame man when you do it as in I'll miss you man but it's great
more your doing it make sure your 100% ready like you've gotta go
a see how many people go bc if it's a low number your getting life
no matter what like look at Payton 6 kills now has life


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Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 05:16:36 UTC
Body And 6 kills is pretty low I'm still thinking about doing it probably will
but I wanna have kids as well so it's hard yk


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 05:18:15 UTC
Body What else is it you need?


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-01 05:26:45 UTC
Body Ahhh I’m sorry dude.. Hey don’t worry man. I’ll be here until then. I
know I’m shit at texting back but you know.�� and again I’m sure
we’ll meet again in the next life! This world just sucks ass.� I won’t
be taken alive I’ll make sure of that. Remember “Heil Hitler!” boom
red mist�� gotta make it unique I guess. Maybe. I just need a
camera for streaming and some more magazines. Don’t wanna run
out of mags and have to reload one�


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 05:29:32 UTC
Body Liked a message


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 05:31:58 UTC
Body HAHAHA that would be so funny just standing there slowly
reloading a mag real you do need more, yea real hopefully in the
next life bro based though, this world does such though if we didn't
have all these shitskins and kikes we'd be fine


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 05:32:12 UTC

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Body But where would you stream it?


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 05:33:06 UTC
Body Fucking so annoying how b.t stream go banned before he got to
the next one


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 05:33:44 UTC
Body My friend and were are probably going to use discord as we used a
camera to share the mosque and we didn't get banned for days


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-01 05:48:25 UTC
Body I honestly didn’t know b.t attacked more than one.� Seriously
though, Fucking kikes ruin everything they touch. I’d probably do it
on discord for people, so they could screen record and send it to
others or post it online.


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 05:55:14 UTC
Body He got to 3 lmao


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 05:55:15 UTC
Body Liked a message


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 05:56:40 UTC
Body That's right man they ruin culture the western world everything
bro, oh sick man

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Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 05:57:00 UTC
Body As long as I get to see it sooner or later I'm happy bro hail victory
Bro


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 08:01:33 UTC
Body What will you be writing on your guns bro?


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-01 08:34:48 UTC
Body Ohh shit I never knew he got to 3�� fucking mad lad. I don’t
know yet. I already have some white paint I bought lol. All I know is, it’s
not just gonna be a copy of Brenton’s. Maybe some stuff but I gotta
make it unique


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 08:41:07 UTC
Body Lmao yea he did unfortunately video only got thr first one but yea
he did lmfao, yea you don't wanna copy him (you do) but some
people hating on Payton for copying it yea that would be sick


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 08:41:51 UTC
Body Btw before you do it would you be able to give me one of your
friends info then they can sent to me once your done please bro


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-01 09:07:24 UTC
Body That’s why I gotta make it mostly my own. Don’t wanna seem like
a copycat attack. I in all honesty don’t have other friends lol. You
and my ex are my only friends.� I’m a very anti social Mf. That’s
why I don’t respond all the time. I was planning on just getting
                                   9
some random/trusted people to join my call and record it.


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 09:18:29 UTC
Body Yea that's right you do wanna be different people need to know
and fear your name, bro so am I the only person I consider to be
my friend in this world would be you as well lol at school I listen to
music by myself and at lunch hangout with some guy who I don't
consider much of a friend, that's Allgood man, makes sense bro


Author
_this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 09:21:04 UTC
Body At school today there's this kid that likes to kick me and shadow
box against me and I was hanging out with a teacher when he
came pretending to punch me after that kid leaves the teacher
goes I've seen people like you before you go home and plan all the
things you'd do to him and ik you could easy kill him I can see how
you look at him when he comes


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 09:21:41 UTC
Body I like that teacher he understands me unlike the other students


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 09:28:26 UTC
Body Liam sent an attachment.


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 09:45:04 UTC
Body Sorry if I'm saying to much man���


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Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-01 09:48:30 UTC
Body That’s quite literally what school was like for me too bro. I also had
a teacher like that when I was in high school he nicknamed me
champ (champion of not giving a care in the world for anything)
always skipped classes to visit him.�No don’t be dude. I suffer from
severe insomnia. (self diagnosed I’m probably still under the effect
of caffeine) I rarely get sleep even if I try. So it’s all good�� No
seriously it’s all good I like chatting takes my mind off stuff!!!


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-01 09:48:46 UTC
Body Later it gets the slower I type�


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 09:50:05 UTC
Body Liked a message

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 09:50:36 UTC
Body Liked a message

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 09:54:32 UTC
Body Wow Holy that's lucky bro I love energy drinks but it doesn't do to
much other than make me piss more ��� I sleep like 6-8 hours
though I hate getting out of bed to go to school, that's good I like
talking as well bro,

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 09:54:42 UTC
Body Do you wanna call sometime bro?

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 09:55:42 UTC
                                  11
Body Tell me what time (your time) your not busy give me a few times
and then I'll see lol�


Author
finnishv64 (Instagram: 58840564741)
Sent 2023-06-01 10:03:20 UTC
Body I have a case of the ADHD so it helps me focus.(barely) Bro I’m
never not fucking pissing� I’m either taking a piss or I have to piss,
no in between when I’m drinking.�Yeah i would be down! I can’t
give exact times yet because I’m starting a new job soon. But
when I figure that stuff out we can 100% call!

Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-01 10:03:20 UTC
Body _this_aint_me_88 wasn't notified about this message because
they're in quiet mode.


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 10:09:52 UTC
Body Oh wow, is it very noticeable? Lol sweet man sounds great
congrats on the new job, I applied for a job stupid niggers haven't
said if I'm in or not and I've waited 2 weeks, what's your new job?

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 10:10:05 UTC
Body But yea that sounds great thanks mate


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-01 10:24:40 UTC
Body No problem! Well my attention span yeah that’s kinda random at
times. But the hyper active part not really anymore. After not really
having any relationships or friendships for a couple years the hyper
part kinda just dies off. At least it did for me. What’d you apply
for?? Thanks man, I’m gonna be working in a car parts factory. I’m
                                  12
getting to beat up and broken from my other job building docks.�
I’m getting to old dude�

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 10:32:03 UTC
Body It just a retail job at a place called Kmart so just customer service
things yk oh cool lucky you bro, building docks wouldn't be to bad,
is it?


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-01 10:42:04 UTC
Body Ohh that’s not bad, I worked at one of those aswell when I was
younger. Depends on the job really. Sometimes we’d do just simple
fixes for people or build completely new docks. Tons of heavy stuff
I’d be carrying on my back all day though. The views were great I
can’t complain about that.


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-01 10:42:15 UTC
Body You sent a photo.
Attachments image-1306052650267075 (1306052650267075)
Type image/jpeg
Size 294076
URL https://interncache-prn.fbcdn.net/v/t1.15752-9/3
50370151_1306052656933741_1220621300253
573268_n.jpg?ccb=1-7&_nc_sid=73a6a0&efg=e
yJ1cmxnZW4iOiJwaHBfdXJsZ2VuX2NsaWVudC9p


bW9nZW46RFlJTWVkaWFVdGlscyJ9&_nc_ad=zm&_
nc_cid=0&_nc_ht=interncache-prn&oh=03_
AdR9-H5II1gqHaZu6oah7peJxsal5_xNAKi4KOM-w-
PR5w&oe=64B003F2


Photo ID
                                   13
1306052650267075


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-01 10:42:16 UTC
Body You sent a photo.
Attachments image-989867852205175 (989867852205175)
Type image/jpeg
Size 170612
URL https://interncache-prn.fbcdn.net/v/t1.15752-9/3
50804774_989867858871841_16845945730277
0925_n.jpg?ccb=1-7&_nc_sid=73a6a0&efg=eyJ
1cmxnZW4iOiJwaHBfdXJsZ2VuX2NsaWVudC9pb
W9nZW46RFlJTWVkaWFVdGlscyJ9&_nc_ad=z-m
&_nc_cid=0&_nc_ht=interncache-prn&oh=03_A
dSb8Iu0mrmG2Rb5bqQiqqp30v_sIpWBb_1KK9s-
UcMToA&oe=64B032A3


Photo ID
989867852205175


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 10:47:31 UTC
Body Liked a message
Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 10:51:02 UTC
Body Oh wow that's looks super cool bro but yea that would be really
heavy duty my dad lifts tiles up and down so he's really sore all the
time

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 10:51:23 UTC
Body Did you have to do lots of hours?

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 10:58:33 UTC
                                 14
Body I'm going to sleep thanks for talking bro have a good day, it's funny
bc its almost middle of the night here lmao

Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-01 11:02:04 UTC
Body 8 hours was mandatory but I worked 16 for more money� I’m just
now going to bed too lol� and no problem thank you for talking
aswell! Have a good night dude��

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 11:13:30 UTC
Body Bro that's crazy, you've gotta find someway so make the days go
by a buy more guns and 55.6 rounds, see ya bro�

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 22:11:40 UTC
Body Liam sent a video.
Attachments video-468f4c97-c16c-4a70-b799-3cf0f633a2cd-
1685657499.mp4
(191923366746039)
Type video/mp4
Size 3262988
URL https://interncache-prn.fbcdn.net/v/t42.3356-2/3
50040713_6140189349431300_7320646670626
361714_n.mp4?ccb=1-7&_nc_sid=a2c536&efg=
eyJ1cmxnZW4iOiJwaHBfdXJsZ2VuX2NsaWVudC9
EWUlNZXNzYWdlRGF0YUFkYXB0ZXIifQ%3D%3D
&_nc_ht=interncache-prn&oh=03_AdSK5DEwDu
6bnBZ3VZT4JVpdED3yDuyltC6hhxExzs3ZRg&oe
=6488C7FE

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-01 22:12:49 UTC
Body Was making that in my hard materials class ended up getting the
drill peice stuck in making the 9mm barrel so I just left it hoping
nobody knows what I'm doing lol i was using the lave to do it a big

                                  15
drill so I might be in a heap of trouble today ��


Author finnishv64 (Instagram: 58840564741)

Sent
2023-06-01 23:07:19 UTC
Body Lmaoo� My wood shop teacher was talking about how some of us
would illegally carry knives in school. He looked right at me while
he was talking about it. It was so fucking funny� I’d always have a
pocket knife on me �

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 00:37:19 UTC
Body Lol I'm probably gonna start carrying a small one with me soon tbh
just need a good place to keep it, how big was your knife�
Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 00:38:28 UTC
Body Sorry that took that long to send my dad canceled my data
contract so I'm fucking using school shity internet

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 00:40:25 UTC
Body Liam sent an attachment.

Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-02 03:12:04 UTC
Body It was 3 inches I think. I always just kept it in my pocket. You’re
good bro no worries.� I can’t tell what this woman wants from me
anymore bro� keeps spamming me with Instagram reels and keeps
texting me sending me snaps.� I’m going insane��

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 03:43:56 UTC
Body Liam sent an attachment.


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Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 03:44:17 UTC
Body Liked a message

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 03:47:42 UTC
Body Oh yeah, lol keeping it in my pocket might be risky but I could put
it in my belt as other people do, �girls are such a pain tbh man
they wanna be friends with everyone in this world and have no
feelings today men it really sucks that there's no young traditional
kinda girls yk what I mean, but fr I would to


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 04:01:50 UTC
Body Thanks for the follow bro�

Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-02 04:13:23 UTC
Body No problem bro� yeah seriously, even not fully traditional. I
meanmy ex is kinda emo.� Just be loyal and stay with a man who very
clearly loves and cares for you. like she even knows I would do
anything for her. She’s said it to me.� The problem is I just get way
to attached to the person and this generation is just not for that.

Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-02 04:14:45 UTC
Body You sent an attachment.

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 04:31:14 UTC
Body Liked a message

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 04:31:15 UTC
Body Sick knife �, lol likes natsocs but is emo lol, but Holy shit that's

                                  17
right bro like just stay with them, like I could never cheat (I've
never been in a relationship) but I still get super hung up on girls to
but yea it's really not fair to be that, this generation isn't right at all

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 04:32:43 UTC
Body Also btw make sure yk the layout of the place bc btw got stuck on
the 2nd or 3rd mosque so he had to shoot threw the windows bc he
didn't know where they put the door�



Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-02 04:50:58 UTC
Body Thanks man that knife is old as shit lol. Gets with a natsoc that is a
extremest mass shooter aswell.� like I had plans already made
back in march, but I started dating her so I cancelled them.�
reminds me, she tried to blame me of cheating a few days ago!�
like the fuck? Me cheat? I find that shit so disgusting. Loyalty or
death is what I live by. All because I posted the grenade vest
picture on my story instead of sending it to her.� lmao�� that’s
actually hilarious� I’ll study the buildings layout don’t worry�


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 05:18:55 UTC
Body My knife pretty old too lol, ohh right March 15ths� lol I was
planning to do mine March 16 the day later and in hope to inspire
March to be the month of it yk �. Bro come on wtf is with
somepeople you cant just get angry at that, that's pretty rude.
That's good to hear �


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-02 05:43:14 UTC
Body That would honestly be so cool bro. We time it a day after each
                                      18
other. We would surely inspire others to take arms against the
Jewish controlled state. I only chose the 15th to mimic b.t’s attack
lol.


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 06:12:54 UTC
Body Yeah it would aye that's what I was thinking though you'd have to
wait another few months but yea I say it would inspire more yea I
was going to do the same lol


Author _this_aint_me_88 (Instagram: 32075774145)
Sent
2023-06-02 06:14:37 UTC
Body Thought about what's going on the gun?


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-02 06:46:24 UTC
Body I’m down for that bro. We’ll be the tipping point for others like us.�
I haven’t put much thought in it yet. But I’m gonna tonight, I’ll start
putting stuff in my notes app. Then I’ll send you it when it’s done
just gotta check how much I would even be able to fit on my rifle. �


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 06:51:37 UTC
Body I'd be down for that as well tbh, oh cool good old notes app lol, bet
thanks man how bigs the rifle?


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 06:51:39 UTC
Body Liked a message

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 07:28:36 UTC
                                   19
Body unlucky bud


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-02 07:29:26 UTC
Body What’s up? It’s a 5,56


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 07:34:33 UTC
Body Oh shit sorry bro I sent a video from my pc It didn't send, nice bro
those are gonna hit pretty darn fucking hard ��


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 07:37:06 UTC
Body Liam sent a video.
Attachments video-0d2d9a5b-56ad-4026-a40f-713685ae67a4-
1685691424.mp4
(977668653402814)
Type video/mp4
Size 2530161
URL https://interncache-prn.fbcdn.net/v/t42.3356-2/3
50336623_6664146956963331_8339513843126
760343_n.mp4?ccb=1-7&_nc_sid=a2c536&efg=
eyJ1cmxnZW4iOiJwaHBfdXJsZ2VuX2NsaWVudC9
EWUlNZXNzYWdlRGF0YUFkYXB0ZXIifQ%3D%3D
&_nc_ht=interncache-prn&oh=03_AdRq7uvc7xG
7uXExLAv7rpiUoRcLilX605PaeHtJHoLTCw&oe=6
488C6E7


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-02 07:39:52 UTC
Body Oh you’re good dude� Biden at it again� I also have a converter
for


                                  20
Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 07:41:01 UTC
Body How many guns do you have? And how many 50cals can you fit in
a mag? Good old Biden

Author
_this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 07:41:02 UTC
Body Liked a message

Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-02 07:45:14 UTC
Body I have a few spread out across my properties. But in total around
11ish I think? Including converters. Like the 50.cal and 9mm for the
Ar. Most are just hunting rifles and shotguns tho. I can fit 5-10
rounds in a mag. Above 5 normally makes the gun jam tho..


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 07:58:10 UTC
Body Liked a message


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 08:00:24 UTC
Body Lol that's a lot lucky you man, what will you be using them all��
that's so lucky gun laws here fucking suck there's no semi autos
and guns can't have a bigger mag then 10, the mag that comes
with it is the 10 round mag above 10 rounds is now illegal it sucks


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 08:00:50 UTC
Body That's 5 you can blow apart


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-02 09:04:58 UTC
                                 21
Body Probably just the Ar honestly. Im fast with reloading new mags so I
really don’t need another gun. Gonna be strapped with mags so I
won’t have ammo problems.�Ahh yeah that’s gay as fuck. I figured
gun laws there would be fucked.� true that dude maybe I will bring
the converter� Ain’t nothing fixing those holes�


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 09:13:00 UTC
Body Not even a shot gun or sniper so you can do a 360 noscope clip on
one of em � that's sick though b.t did it really well he had 2 mags
attached so he had to just slide them over (you should know this)
but that's smart even faster timing. It does fucking suck, what
holes? �


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 09:15:21 UTC
Body Personally I'd bring the natsoc flag in and isis classic one of them
then put there head on top

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 09:15:29 UTC
Body ����
Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 09:15:56 UTC
Body Like on top of the flag if you get what I'm saying


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-02 09:27:32 UTC
Body Maybe a shotgun incase they lock the doors. load some buck shot and
remove the door.�Yeah that’s also a good idea, I should
combine a few mags for even faster reloads! Yeah let’s be honest
if I use the 50.cal it’s taking body parts off.�Bro I have so many
machetes and axes I should so do that!�
                                  22
Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 09:29:16 UTC
Body Liked a message

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 09:32:24 UTC
Body I definitely recommend a shotgun, could be a problem if they do,
yea it would be smart. Yup it sure fucking would �� taking those
could help to yea, some flammable thing aswell I play on burning
poeple when I do

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 09:32:46 UTC
Body Maybe burning or blowing it up but I would definitely set it on fire

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 09:33:04 UTC
Body Fun fact b.t had explosive he just didn't get time use them

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 10:11:35 UTC
Body How many flags do you have?

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 10:46:03 UTC
Body Are you busy around 4pm?

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 10:46:23 UTC
Body Liam sent an attachment.


Author finnishv64 (Instagram: 58840564741)
Sent 2023-06-02 11:08:05 UTC
Body Oh for sure I’m taking some homemade Napalm to burn some
bodies! I think I heard about that, I just didn’t know he went to
different mosques. I have to pack some more stuff tomorrow so
                                  23
probably yeah sorry bro. That and I won’t wake up until around
3pm�


Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 11:09:18 UTC
Body Liked a message

Author _this_aint_me_88 (Instagram: 32075774145)
Sent 2023-06-02 11:12:18 UTC
Body Fuck let's go brooo, lol Ik where he lived in nz as well unfortunately
I haven't been to take a photo yet but soon for sure. Bruh 3pm
that's crazy mate, what about work? Lmao they start without you?
That's fine bro


Conversation #2


Author varix2006_thenewrevolution (Instagram: 51817347417)
Sent 2023-05-27 03:50:12 UTC
Body Thank you so much, I was going to post it on my profile but many
people from my school follow me and since I live in MassaJewShits
where 40% of my school are kikes who will expell me for
"antisemitism".

Author finnishv64 (Instagram: 58840564741)
Sent 2023-05-27 03:58:14 UTC
Body Yeah no problem bro�� Ahhh that sucks bro. I’m not in school so
I can’t relate. Michigan ain’t got that many kikes thankfully. Just lots
of Finns and Germans.

Conversation #3

Author finnishv64 (Instagram: 58840564741)
Sent 2023-05-27 00:34:58 UTC
Body A far right militant group from the states. Not footage of my group
                                  24
though. Can’t remember what they were called, all I remember is
they were very satanic.

Author hxted_fxmboy88v2 (Instagram: 58501872424)
Sent 2023-05-27 00:35:54 UTC
Body Like the "O9A"

Author hxted_fxmboy88v2 (Instagram: 58501872424)
Sent 2023-05-27 00:35:59 UTC
Body � � sent a photo.
Attachments image-225611250205072 (225611250205072)
Type image/jpeg
Size 68893
URL https://interncache-prn.fbcdn.net/v/t1.15752-9/3
48361047_225611256871738_37748864589814
71120_n.jpg?ccb=1-7&_nc_sid=73a6a0&efg=ey
J1cmxnZW4iOiJwaHBfdXJsZ2VuX2NsaWVudC9pb
W9nZW46RFlJTWVkaWFVdGlscyJ9&_nc_ad=z-m
&_nc_cid=0&_nc_ht=interncache-prn&oh=03_A
dTCtVqGTtIjM1hdZWxJo3xins8HOLXyaetH2vYq6
hnEZg&oe=64B00315




                                25
Author finnishv64 (Instagram: 58840564741)
Sent 2023-05-27 00:37:13 UTC
Body Pretty sure, I’ll have to look up their symbol

Author hxted_fxmboy88v2 (Instagram: 58501872424)
Sent 2023-05-27 00:37:31 UTC
Body Liked a message

Author hxted_fxmboy88v2 (Instagram: 58501872424)
Sent 2023-05-27 00:37:40 UTC
Body � � sent a photo.
Attachments image-561756012701523 (561756012701523)
Type image/jpeg
Size 83724
URL https://interncache-prn.fbcdn.net/v/t1.15752-9/3
48359449_561756016034856_90458031873752
58773_n.jpg?ccb=1-7&_nc_sid=73a6a0&efg=ey
J1cmxnZW4iOiJwaHBfdXJsZ2VuX2NsaWVudC9pb
W9nZW46RFlJTWVkaWFVdGlscyJ9&_nc_ad=z-m
                                  26
&_nc_cid=0&_nc_ht=interncache-prn&oh=03_A
dSlI7be8R_rB_l14uehcb_47n1NPbHZAfodaRCLnh
JtTA&oe=64B00DDD




Author finnishv64 (Instagram: 58840564741)
Sent 2023-05-27 00:41:00 UTC
Body You sent a photo.
Attachments image-1205656020097028 (1205656020097028)
Type image/jpeg
Size 141629
URL https://interncache-prn.fbcdn.net/v/t1.15752-9/3
28129306_1014244622871412_3555336200865
230678_n.jpg?ccb=1-7&_nc_sid=73a6a0&efg=e
yJ1cmxnZW4iOiJwaHBfdXJsZ2VuX2NsaWVudC9p
bW9nZW46RFlJTWVkaWFVdGlscyJ9&_nc_ad=zm&_
nc_cid=0&_nc_ht=interncache-prn&oh=03_
AdTwSdHeNIRvxSBFyPISy8jyAKo5klTURTRWg10
9OQWn4w&oe=64B00D91




                            27
      9.     The above messages are not a complete verbatim account of the

exchanges between finnishv64 and other Instagram users. I have only cited the

above messages for the purpose of establishing probable cause. As demonstrated

above, finnishv64 has communicated Neo-Nazi style ideology, antisemitism,

suicidal ideologies, glorification of past mass shooters (that advocate similar

ideology), and a desire and his intent to mimic past mass shooters/mass casualty

incidents.

      10.    Finnishv64 specifically references admiration for Brenton Tarrant

(Tarrant). Tarrant committed acts of mass murder in New Zealand. On March 15,

2019, Tarrant committed two consecutive mass shootings on Mosques located in

New Zealand. Tarrant killed 51 people and injured 40 more. Tarrant live-streamed

his attack via Facebook Live. Tarrant pled guilty to 92 charges including murder,

attempted murder, and engaging in a terrorist act. He was subsequently convicted
                                         28
of all charges and sentenced to life in prison. Finnishv64 specifically mentions “I

just need a camera for live streaming.” As shown above, Finnishv64 mentions

planning the attack to mimic “b.t’s” attack and states “All I know is, it’s not just

gonna be a copy of Brenton’s.”

      11.    According to a Washington Post online article about the attack

perpetrated by Tarrant, Tarrant’s bullet proof vest, weapons, and magazines were

covered with white symbols and white writings. Some of the writings were in

reference to Adolf Hitler and the names of other mass shooters. Investigators

believe that PIETILA’s comments about white paint are in reference to Tarrant’s

use of white symbols and writings on his gear during the March 15, 2019, attack in

New Zealand. The following image was reported to be Tarrant’s bullet proof vest

and magazines:




                                          29
      12.   Additional open-source checks led agents to Pinterest account

@finnishv1, which included posts of Nazi imagery and mass killers Brenton

Tarrant and Anders Behring Breivik. According to open-source checks, Breivik

killed over 70 people at a youth camp and another seven with a car bomb in the

Norwegian capital of Oslo. The below photographs were found in the finnishv1

Pinterest account:




                                       30
      13.   The below photo was posted to the finnishv1 Pinterest account which

shows an individual wearing a skull mask similar to other photos SEANN

PATRICK PIETILA has posted:




                                      31
             IDENTIFICATION OF SEANN PATRICK PIETILA


      14.   Open-source research conducted by the FBI identified SEANN

PATRICK PIETILA, date of birth XX/XX/2004, as the likely user of account

finnishv64 based on the following evidence:

      15.   Instagram (Meta Platforms, Inc.) provided the FBI with additional

Meta Platforms, Inc. accounts associated with user finnishv64. The following

accounts were identified as linked with the finnishv64 account: seannpietila,
                                        32
seann_pietila_, we_are_anoymous_fear_us, keria_18, commando_hans,

no_no_no_no_no_maybe_sure, finnishv19, and Seann Pietila.

      16.    On June 14, 2023, the FBI queried local Lansing, MI school

administrators and learned SEANN PATRICK PIETILA attended Lansing Eastern

High School during the 2020-2021 school year. The listed address for SEANN

PIETILA was XXX North Holmes Street, Lansing, Michigan, 48912. The listed

custodian for SEANN PATRICK PIETILA was Brittany Stob. A check of

Michigan Department of Motor Vehicle (DMV) records reveal Brittany Stob was

previously Brittany Marie Pietila.

      17.    The FBI conducted research via Facebook.com and located the

Facebook account: https://www.facebook.com/brittany.pietila, vanity name

“Brittany Marie.”

      18.    On May 20, 2023, the below photo was posted on the brittany.pietila

Facebook account:




                                        33
      19.   SEANN PATRICK PIETILA previously attended high school in

Pickford, MI. On June 14, 2023, the FBI showed the above photo to Pickford High

School Administration who confirmed the male in the above photo is SEANN

PATRICK PIETILA.

      20.   On May 15, 2023, an Instagram user sends finnishv64 the below

photo with the accompanying message “show your face pussy.” Finnishv64

responds “Show my face for the feds? No thanks”:



                                      34
      21.   The cat on the shoulder in the above photo appears to match the cat in

the photo posted by the brittany.pietila Facebook account.

      22.   Instagram (Meta Platforms, Inc.) provided the FBI with recent IP

addresses used by user finnishv64. The most recent IP Address provided was IP

Address 38.101.7.68 Time 2023-06-10 18:02:13 UTC. The FBI researched the


                                        35
service provider for IP Address 38.101.7.68 and noted the service provider was

CCI Systems, located in Iron Mountain, Michigan. CCI Systems records of

subscriber information for the above stated IP Address revealed the subscriber as

Kevin Stob, XXXXX South M-129, Pickford, MI 49774. The FBI believes that

Kevin Stob is married to Brittany Stob based on Facebook posts showing them

together as husband and wife.

      23.   On April 4, 2023, finnishv64 sent the below photo to another

Instagram user. The photo depicts a white male wearing a “Pickford” basketball

jersey:




      24.   On June 9, 2023, user finnishv64 shared his Snapchat username

“finnishmann” with another Instagram user. The Instagram message is depicted

below. Additionally, a screenshot of the conversation showed the Snapchat

username “Hanz Pietila.”


                                        36
      Author finnishv64 (Instagram: 58840564741)
      Sent 2023-06-09 20:45:06 UTC
      Body I do it’s “finnishmann” all I ask is you don’t leak my last name��




      25.   On June 14, 2023, the FBI conducted open-source resource on

additional social media accounts linked with Instagram user finnishv64. The FBI

located a Tiktok account with the username finnishv64. The FBI noted the Tiktok

account listed additional Discord account under the username ImThatGuy#5352.




                                       37
      26.    Discord is an American VoIP and instant messaging social platform.

Users have the ability to communicate with voice calls, video calls, text messaging,

media and files in private chats or as part of communities called “servers.”

      27.    Discord subscriber information for ImThatGuy#5352 indicates that

the user ImThatGuy#5352 changed their username to methwitch#5352. Discord

identified 517-833-0604 as a phone number for the user. Discord also advised that

user methwitch#5352 last accessed Discord via the IP Address 38.101.7.68 on June

7, 2023.

      28.    On June 14, 2023, I checked the service provider for 517-833-0604

through law enforcement databases and learned the service provider was Cingular

Wireless/AT&T.

      29.    On June 14, 2023, the FBI searched for 517-833-0604 via the law

enforcement database Accurint, which revealed 517-833-0604 was associated with

SEANN PIETILA.

      30.    AT&T records for 517-833-0604 reflect that SEANN PIETILA was

listed as the authorized user for 517-833-0604 dating back to 01/29/2021.

      31.    The FBI was unable to locate any State of Michigan identification for

SEANN PATRICK PIETILA.



                                         38
      32.   The FBI searched Michigan State records for firearms registered to

SEANN PATRICK PIETILA and his family members. SEANN PATRICK

PIETILA had no known firearms registered in his name. The FBI obtained records

for firearms registered to SEANN PATRICK PIETILA’s mother, Brittany Stob.

Brittany Stob had two handguns registered in her name. One handgun was a Sig

Sauer, .40 Caliber, Model Number SP2022, and one handgun was a Springfield,

9mm, Model XD.

      33.   On June 16, 2023, The FBI served a federal search warrant at

XXXXX South M-129, Pickford, Michigan, 49774 and on the person of SEANN

PATRICK PIETLA. SEANN PATRICK PIETILA was located inside XXXXX

South M-129 during the execution of the search warrant. SEANN PATRICK

PIETILA was detained during the warrant service and transported to the Chippewa

County Correctional Facility, located at 325 Court Street Sault Saint Marie,

Michigan.

      34.   At the Chippewa County Correctional Facility, SEANN PATRICK

PIETILA was interviewed by an FBI Special Agent and an FBI Task Force

Officer. Prior to any questioning, SEANN PATRICK PIETILA was read his

Miranda Rights via the FBI Advice of Rights form FD-395. SEANN PATRICK



                                        39
PIETILA signed the FD-395 indicating he understood his rights and agreed to

speak with investigators.

        35.   SEANN PATRICK PIETILA advised he moved to XXXXX South

M-129, Pickford, Michigan, 49774 approximately one week prior to June 16, 2023.

SEANN PATRICK PIETILA advised he was previously living with his mother in

East Lansing, Michigan near the Michigan State University Campus. Based on

SEANN PATRICK PATILA’s admission’s he was most likely located in East

Lansing, Michigan when he communicated the threats over Instagram.

        36.   SEANN PATRICK PIETILA advised he was the Instagram user

finnishv64. SEANN PATRICK PIETILA also used numerous other social media

usernames under the moniker finnishv. SEANN PATRICK PIETILA advised he

would change the numbers at the end of the username on different accounts.

SEANN PATRICK PIETILA participated in the Instagram conversations with

Instagram user this_aint_me_88. SEANN PATRICK PIETILA knew

this_aint_me_88, to be a 16 year-old male, and advised this_aint_me_88 was

located in New Zealand. SEAN PATRICK PIETILA knew this_aint_me_88’s true

name.

        37.   SEANN PATRICK PIETILA exchanged messages with

this_aint_me_88 and advised he acted in an enabling manner during the
                                       40
conversations to facilitate additional conversations about committing mass casualty

incidents or mass killings. SEANN PATRICK PIETILA conversed with

this_aint_me_88 on other social media platforms. SEANN PATRICK PIETILA

and this_aint_me_88 had been communicating since at least November of 2022.

SEANN PATRICK PIETILA told investigators that he did not intend on following

through with the mass killings that he spoke about.

      38.    During the execution of the search warrant, investigators located the

following items of evidence: .40 caliber pistol ammunition, .22 caliber

ammunition, 12 gauge shotgun ammunition, a 12-gauge shotgun, a .22 caliber rifle,

a Sig Sauer .40 caliber pistol (serial # 24B049058), .223 rifle magazines, an Apple

iPhone 11, various knives and bladed instruments, scopes and firearms accessories,

a camouflage tactical vest, a black tactical vest, black skull masks, a red and white

Nazi flag, a ghillie suit, gas masks, and military sniper/survival manuals. The

firearms located in the residence were not secured in a safe or locked storage box

and were freely accessible to anyone in the residence.

      39.    SEANN PATRICK PIETILA advised the Apple iPhone seized during

the search belonged to him. SEANN PATRICK PIETILA provided his pin number

to investigators for the iPhone and consented to a search of the phone. During a

search of the iPhone, investigators located the below note:
                                         41
      40.   Shaarey Zedek is a Jewish Synagogue located in East Lansing, MI.

SEANN PATRICK PIETILA advised that he searched the location of Shaarey

Zedek. SEANN PATRICK PIETILA advised the original date on the note was

March 15, 2023, but he later changed the date to March 15, 2024. SEANN

PATRICK PIETILA told investigators March 15 was the date of Brenton Tarrant’s

attack. SEANN PATRICK PIETILA identified Limey as this_aint_me_88.

      41.   During the execution of the search warrant, the 12-gauge shotgun that

was seized, was located above a door in the kitchen. SEANN PATRICK PIETILA
                                       42
advised that he planned on using the shotgun to kill himself. SEANN PATRICK

PIETILA acknowledged that he wrote a suicide note which was located in his

iPhone.

                                   Conclusion

      42.   Based on the aforementioned information, I respectfully submit there

is probable cause to believe that, in the Western District of Michigan, SEANN

PATRICK PIETILA violated 18 U.S.C. § 875(c). I respectfully request the Court

issued the proposal criminal complaint.




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